          4:05-cr-03065-RGK-CRZ               Doc # 76       Filed: 02/03/06         Page 1 of 1 - Page ID # 311
                                       UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEBRASKA
Denise M. Lucks                                OFFICE OF THE CLERK
Clerk of Court                            Roman L. Hruska United States Courthouse                                    Lincoln Office:
                                                 111 South 18th Plaza, Suite 1152                                    P. O. Box 83468
M. Therese Bollerup                                 Omaha, NE 68102-1322                                    Lincoln, NE 68501-3468
Chief Deputy Clerk                                       402-661-7350                                                   402-437-5225
                                                       Fax: 402-661-7387                                           Fax 402-437-5651




         TO:              The Honorable Richard G. Kopf

         FROM:            Clerk, U.S. District Court
                          Gale Gomez

         DATE:            February 3, 2006

         SUBJECT:         4:05CR3065 United States of America v. Lorenzo Robledo, Jr.

         A party, who has already been permitted to proceed in forma pauperis, or who is financially unable to obtain
         adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to the third paragraph of FRAP
         24(a), a party may proceed on appeal in forma pauperis without further authorization unless the district judge
         certifies that the appeal is not taken in good faith or finds that the party is otherwise not entitled to proceed
         on appeal in forma pauperis. The district judge shall state in writing the reasons for such a certification or
         finding.

         In order for the Clerk’s office to process this appeal, please advise our office how you intend to proceed:

                   xx     No order will be entered in this direct criminal appeal, and the party is
                          permitted to proceed on appeal in forma pauperis.
                          An order will be entered finding that the party is not entitled to proceed in forma
                          pauperis.
                          An order will be entered, and the party is permitted to proceed on appeal in forma
                          pauperis.
                          An order will be entered in this § 2254 or § 2255 case regarding Certificate of
                          Appealability.

         February 3, 2006.                                       BY THE COURT:

                                                                 s/Richard G. Kopf
                                                                 United States District Judge


                                   Additional Requirement for State Habeas or 2255 Cases

         Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district judge who
         rendered the judgment shall either issue a certificate of appealability or state the reasons why such a
         certificate should not be issued.

         Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules on the
         in forma pauperis status and the certificate of appealability.


         Last Update: 07/10/2003                                                 k:\clerk\proc\appeals\forms\habnotifp.wpd
